Information to identify the case:
Debtor 1              Ian Byron Fawknotson                                                Social Security number or ITIN         xxx−xx−7876
                      First Name   Middle Name     Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            MIDDLE DISTRICT OF TENNESSEE
                                                                                          Date case filed for chapter 7 3/4/21
Case number:          3:21−bk−00618


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Asset                                                                                            10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                        About Debtor 2:

1.      Debtor's full name                       Ian Byron Fawknotson

2.      All other names used in the aka Byron Fawknotson
        last 8 years

3.      Address                                  6552 Banbury Xing
                                                 Brentwood, TN 37027

4.     Debtor's attorney                         ALEXANDER S KOVAL                                      Contact phone: 629−777−6539
                                                 DUNHAM HILDEBRAND PLLC
       Name and address                          2416 21ST AVE S STE 303                                Email: koval@dhnashville.com
                                                 NASHVILLE, TN 37212

5.     Bankruptcy trustee                        THOMAS LARRY EDMONDSON SR                              Contact phone: 615 254−3765
                                                 T. LARRY EDMONDSON ATTORNEY AT LAW
       Name and address                          800 BROADWAY 3D FL                                     Email: None
                                                 NASHVILLE, TN 37203
                                                                                                                For more information, see page 2 >
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Debtor Ian Byron Fawknotson                                                                                          Case number 3:21−bk−00618


6. Bankruptcy clerk's office                      701 Broadway Room 170                                       Hours open: 8:00AM−4:00PM
                                                  Nashville, TN 37203                                         Monday−Friday
    Documents in this case may be filed at this
    address. You may inspect all records filed                                                                Contact phone: 615−736−5584
    in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                              Date: 3/5/21

7. Meeting of creditors                           April 5, 2021 at 08:00 AM                                   Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              Refer to
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            www.tnmb.uscourts.gov, for
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     details on the remote meeting

                                                          *** Valid photo identification required ***


8. Presumption of abuse                           The Presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 6/4/21
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                For holder(s) of a claim secured by a security interest in the debtor's principal residence
                                                  (Rule3001(c)7(A)): Filing Deadline: 5/13/21
    Please do not file a proof of claim unless
    you receive a notice to do so.                For creditors other than a Claim Secured by a Security Interest in the Debtor's Principal
                                                  Residence: a date has not been set yet. No property appears to be available to pay
                                                  creditors. Therefore, please do not file a proof of claim now. If it later appears that
                                                  assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
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